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    EXHIBIT 4
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                        CERTIFICATION BY TRANSLATOR


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Illegible                                               [Logo: WOLFGANG                       GASTROENTEROLOGY
                                                             KELLING                          COLOPROCTOLOGY
                                                     PROF. HC (RU) • DR. MED.                 HEPATOLOGY
                                           SPECIALIST PRACTICE FOR INTERNAL MEDICINE]         CARDIOLOGY
                                                                                              ANGIOLOGY DIAGNOSTICS




                                                                                                             April 28, 2015



Epicrisis course:


Mr. Achmed Bilalov, born on 11/19/1970, has been under my medical supervision and treatment very regularly since
2005.

The patient is very athletic, does not drink alcohol, does not smoke and eats a very healthy diet. Apart from minor
weight fluctuations, the patient has always been in very good health and has always been very fit. This has been well
documented over the years since 2005.

Extensive heart examinations with ECG, exercise ECG, ultrasound of the heart and blood vessels and occasionally stress
echocardiography were carried out. The result has always been a well-trained, athletic young man.

This picture changed considerably at the end of October, beginning of November 2012:
The patient has felt ill, has not been able to perform, has been sweating constantly, has hardly been able to bear weight.
The ultrasound of the heart was unremarkable. The exercise ECG confirmed a reduced exercise tolerance. The extensive
routine laboratory tests did not provide any further explanation at the time.
At the time, I advised the patient to simply take some time out. I thought he was overstressed.
However, Mr. Bilalov's condition did not improve, and he became increasingly unwell. In January 2013, the patient was
again very tired, weak, unfocused, had a poor appetite, a renewed feeling of tightness in his throat, palpitations,
sweating and abdominal discomfort. Mr. Bilalov felt very ill.

This prompted me to carry out further investigations. As a result, various endocrinological tests were carried out,
various metabolic disorders were investigated and I also decided to look for ecological pollution such as heavy metal
pollution and pyrethroids.

Surprisingly, very high mercury levels were found in the blood at that time, which corresponded to a high-risk level for
the health of patients according to the guidelines of the German Federal Environment Agency. Findings from
03/01/2013 (see sheet N1). I have therefore consulted with various forensic medicine institutes, including the
University of Tuebingen, Munich and a specialist laboratory in Heidelberg. Contamination through the food was ruled
out by all the institutes involved.




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